                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

                                    STATE OF LOUISIANA

CHAD BLACKARD                                                        CIVIL ACTION 12-704

VERSUS



LIVINGSTON PARISH SEWER DISTRICT                                     STATE OF LOUISIANA




                  MEMORANDUM IN OPPOSITION TO DEFENDANTS
                    MOTION FOR SUMMARY JUDGMENT




       Plaintiff was employed by Defendant for approximately 5 ½ years, until his termination

of employment in July of 2012.        Plaintiff has asserted disability discrimination, denial of

accommodation and retaliation claims under Title II of the Americans with Disabilities Act

(“ADA”) and Section 504 of the Rehabilitation Act in connection with the termination of

Plaintiff and denial of an accommodation as well as the failure to engage in an interactive

process to establish possible reasonable accommodations.

       In addressing Plaintiff's claims in its brief, Defendant denies violating the ADA while not

even discussing the possibility of accommodations with a disabled employee before terminating

him. Defendant also does not in its brief address its obligation to engage in an interactive process

with disabled employees concerning accommodations. Defendant argues that plaintiff was not

disabled even while it is clearly recognized, both before and even after terminating him, that he

                                                 1
was disabled under the ADA. An employee does not need to be labeled as “disabled” in order to

be protected under the ADA or Rehabilitation Act.



                                    LAW AND ARGUMENT

    The Standard of Review

       F.R.C.P. Rule 56(c) provides, in pertinent part:

       Motions and Proceedings Thereon . . . The judgment sought shall be rendered forthwith if

the pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to judgment as a matter of law.

       The dismissal of a claim on summary judgment is proper only if it appears that Plaintiff

can prove no set of facts in support of the claims which would entitle her to relief. O=Hare v.

Global Natural Resources, Inc., 898 F.2d 1015 (5th Cir. 1990); Kaiser Aluminum & Chemical

Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1050 (5th Cir. 1982), cert. denied, 459

U.S. 1105 (1983). Defendant must carry its burden as the moving party to demonstrate that there

is no genuine dispute as to any material fact as to Plaintiff’s claims. The deciding court must

draw all inferences from the underlying facts in the light most favorable to the party opposing

the motion. Grillet v. Sears, Roebuck & Co., 927 F.2d 217, 220 (5th Cir. 1991). A motion for

summary judgment is not substitute for credibility determinations to be made at trial on the

merits. As will be more fully shown herein, defendant’s motion should be denied. Plaintiff can

bring forth significantly probative evidence in support of his allegations, and a dispute exists as

to all material facts alleged by the defendant.



                                                    2
       Plaintiff Was Disabled and Was A Qualified Person with A Disability

       1. Plaintiff was Disabled

       In order to prove that he is disabled for the purposes of the ADA and also a qualified

person with a disability so as to be able to make claims under the ADA, for discrimination,

denial of accommodations and retaliation, a plaintiff must establish that he has a physical or

mental impairment substantially limiting a major life activity but could, with reasonable

accommodations, perform the essential duties of the position from which he was terminated. 42

U.S.C. §§ 12102(2), 12111(8), 12112.

       Under 42 U.S.C. § 12102(2), disability means: (A) a physical or mental impairment that

substantially limits one or more of the major life activities of such individual; (B) a record of

such an impairment; or (C) being regarded as having such an impairment.

       Defendant, in addressing the issue of disability based on the definition of a disability in

the ADA does not debate the issue that Plaintiff suffers one or more mental impairments.

Defendant disputes, instead, only that Plaintiff's impairments do not substantially limit major life

activities for purposes of establishing actual disability and also contends he cannot argue that he

is disabled based on a record of such an impairment or being regarded as having such an

impairment.

       For reasons stated below, each of these arguments must properly be rejected, and

Plaintiff's summary judgment evidence satisfies his burden to establish his disability within the

meaning of §12102(2).




                                                  3
       a. Actual Disability

   Defendant acknowledges Plaintiff’s mental impairments and describes them as “possibly

having a trigger mechanism that made his conditions episodic and intermittent” without any

citing source to define such impairments as episodic. Mental impairments are illnesses just as

any type of physical illness and have to be treated as such.

   The issue of Plaintiff's actual disability, is, in all events, whether the restrictions noted

individually or collectively substantially limit one or more of the major life activities of Plaintiff.

Defendant, falsely suggests that Plaintiff is not a qualified individual with a disability because

his mental conditions do not limit a major life activity. However, sleeping, concentrating, taking

care of one’s self, and social functioning are major life activities as noted by Plaintiff’s treating

nurse practitioner in her deposition.

(Exhibit A, Smith’s Depo. pp. 38-39).

   Q. Would you consider sleeping, concentrating, taking care of one’s self, social functioning,

   major life activities?

   A. Definetely, and I think the sleeping does affect the mood or the anxiety, your mood or

   anxiety.

   Q. Right. And according to your records, Mr. Blackard was complaining about his inablity

   to sleep?

   A. Correct, which does lead to grumpiness or irritability or being quick-tempered.

   Moreover, every circuit that has addressed the issue and has concluded that sleeping is a

major life activity. See, e.g., Desmond v. Mukasey, 530 F.3d 944, 953 (D.C.Cir.2008); Nadler v.

Harvey, No. 06-12692, 2007 WL 2404705, at *5 (11th Cir. Aug. 24, 2007) (unpublished); Burks



                                                   4
v. Wis. Dep't of Transp., 464 F.3d 744, 755 (7th Cir.2006); Boerst v. Gen. Mills Operations, Inc.,

25 Fed.Appx. 403 (6th Cir.2002) (unpublished); EEOC v. Sara Lee Corp., 237 F.3d 349, 352-53

(4th Cir.2001); Pack v. Kmart Corp., 166 F.3d 1300, 1305 (10th Cir.1999); McAlindin v. County

of San Diego, 192 F.3d 1226, 1234 (9th Cir.1999); Colwell v. Suffolk County Police Dep't, 158

F.3d 635, 643 (2d Cir.1998). In Desmond, the court performed a thorough analysis of why sleep

is a major life activity, relying on scientific evidence that the average person spends about

one-third of her life asleep and that sleep plays an important role in brain development, memory

reinforcement, and immune function. Desmond, 530 F.3d at 953.

   Early work hours and the mandatory requirement to be on a rotation to be on call at night--

(although it may have been one that Plaintiff's medical providers could have requested to adjust

if Defendant had engaged in the required interactive process of considering accommodations to

Plaintiff's disability (see Section III (A(2)(a)(2)) - would knock Plaintiff out of any jobs having a

potentially irregular schedule or significant overtime. This effect of an impairment to broadly

preclude certain categories of employment for a disabled individual is in fact the standard

adopted under the ADA to determine whether an impairment substantially limits an individual's

ability to perform the major life activity of work. ( Citing 29 C.F.R. 1630.2(j)(3)), stating that

being significantly limited in the major life activity of work must include that individual is

“significantly restricted in the ability to perform either a class of jobs or a broad range of jobs in

various classes.”)

   The regulation, at 29 CFR §1630.2(j)(1), states:

“Substantially limited” means: (i) unable to perform a major life activity that the average person

in the general population can perform; or (ii) significantly restricted as to the condition, manner



                                                   5
or duration under which an individual can perform a particular major life activity as compared to

the condition, manner, or duration under which the average person in the general population can

perform that same major life activity.

    Under that definition, a limitation on duration of hours of work per day are substantially

limiting , and do not merely, as Defendant claims, affect only a single, particular job. The

average person in the general population can work early hours and on call at night if necessary as

a condition, manner or duration of performing the major life activity of working, but Plaintiff

clearly could not.

    It is also not sufficient to defeat Plaintiff's ADA claim that Plaintiff’s nurse practitioner

stated that his mental conditions would not keep Plaintiff from working. This action would not

even be pending if Plaintiff did not think he was capable of working.

    The question of whether an individual is disabled under the ADA thus remains an

individualized inquiry, and in this case a jury reasonably could find that Plaintiff was disabled

under the ADA because he was substantially limited in the major life activities of caring for

himself, sleeping, and thinking.

b. Record of Disability

    Plaintiff is a qualified individual with a disability also because of a record of a disabling

impairment. That is so based upon the request to Defendant, written by his nurse practitioner,

requesting an accommodation due to his nighttime medicine regimen. Defendant concedes that

it received such request, but yet contradictorily asserts that it had no record of Plaintiff’s

impairment because it did not receive notice of the impairment until three days prior to Plaintiff’

termination. There is no time limit under the ADA for giving a notice of an impairment. Once



                                                   6
notice is given, the employer is required to engage in an interactive process to learn of any

reasonable accommodations that may be available. Instead, plaintiff was terminated three days

later. Moreover, plaintiff had no idea that he was going to be terminated three days later so the

argument that not enough notice was given is illogical.

    Taking into account the entire summary judgment evidence of Plaintiff relevant to the issue

whether he had a record of disability from the standpoint of Defendant, such evidence

conclusively establishes that to be the case. It establishes that Defendant was specifically aware

of Plaintiff’s condition. Accordingly, Defendant simply cannot claim he did not appreciate

Plaintiff as having a record of disability.

    Since plaintiff clearly establishes a disability under the first two provisions of the definition,

the third definition of whether he was regarded as having an impairment is moot.

        Accommodation Request and Interactive Process

            Defendant only addresses the issue of accommodation in one sentence of its brief

stating that “allowing employees to come into work whenever they please would be an undue

hardship and unreasonable accommodation.” However, Plaintiff did not request that he come

into work whenever he pleases, nor did Defendant even engage in any interactive process to be

informed of Plaintiff’s condition and if or what accommodations were available. Plaintiff, in

fact, requested to be taken off of rotation to on call at night and his supervisor told him that

“everyone has to be on call.” (Exhibit B, Plaintiff’s Depo., pp. 39-40)

        Q, The letter that was referred to earlier from your nurse practitioner, did you give it to

        anyone at work?

        A. Yes, sir. Jamie Fontenot.



                                                   7
       Q. And what did Mr. Fontenot tell you in response to you giving him the letter?

       A. He said you go to talk to the board because everyone there has got to be on call. ....

       Q. After you gave him the letter, do you recall what happened to you next?

       A. Yes, sir. Three days – two days later, I was terminated.

The ADA does not favor the argument that an accommodation can be completely refused, much

less that an accommodation can be refused without discussing the issue. An employer generally

has to discuss with an employee whether accommodations are possible. Once an employee has

made a request for an accommodation, the ADA regulations make it necessary for the employer

to initiate an informal interactive process. 29 C.F.R. § 1630.2(o)(3). The Interpretative Guidance

further not only reinforces this directive but stresses that the interactive process requires the

input of the employee as well as the employer. See 29 C.F.R. Pt. 1630, App. § 1630.9 at 359

(referring to the requirement as a “flexible, interactive process that involves both the employer

and the qualified individual with a disability”). Defendant omitted to even pursue this process

with Plaintiff prior to his termination. That is simply illegal. Cutrera v. Board of Supervisors of

Louisiana State Univ., 429 F.3d 108 (5th Cir. 2005). “[A]n employer may not stymie the

interactive process of identifying a reasonable accommodation for an employee's disability by

preemptively terminating the employee before an accommodation can be considered or

recommended.” Id. at 113. Once an employee has made his condition known, identified the

workplace problem his condition causes and has taken steps to ask for an accommodation, the

employer may not simply avoid its duty to engage in an interactive process by terminating the

employee. Cutrera, 429 F.3d at 113. Rather, it must go through the interactive process. Id. See

also Loulseged v. Akzo Nobel Inc., 178 F.3d 731, 735-36 (5th Cir. 1999) (when an employer's



                                                   8
unwillingness to engage in a good faith interactive process leads to a failure to reasonable

accommodate an employee, the “employer violates the ADA”);

   Also, see Bartee v. Michelin North America. Inc., 374 F.3d 906 (10th Cir. 2004). The court

in Bartee stated: While “[t]he exact shape of this interactive dialogue will necessarily vary from

situation to situation and no rules of universal application can be articulated,”Id. at 1173, “[t]he

interactive process [necessarily] includes good-faith communications between the employer and

employee[,]. Id. at 1172. As such, after receiving notice from Mr. Bartee, Michelin had a duty to

engage with him in a good faith effort to “identify the precise limitations resulting from the

disability and potential reasonable accommodations that could overcome those limitations.” Id.

at 1171. Mr. Bartee produced evidence at trial showing that Michelin failed to participate in

such an interactive process. Reading the evidence in the light most favorable to Mr. Bartee,

Michelin did not inquire about his restrictions or about the accommodations that he needed to

perform the planning position. Instead, Mr. Warner, Mr. Bartee's former area personnel manager,

offered the planning job to Mr. Bartee without assessing any of its requirements. Michelin did

not offer any position modifications to Mr. Bartee nor did it provide any evidence showing that

shortening this position's working eight hours requiring a larger card would disrupt essential

functions of the job. In fact, the record does not indicate any accommodations offered to Mr.

Bartee by Michelin other than the re-wheeled cart, which marked as to Mr. Bartee already stated

was too small for his use. The record, then, provides sufficient grounds for the jury to conclude

that Michelin failed to reasonably accommodate Mr. Bartee, we affirm the District Court's denial

of Michelin's motion motions for judgment as a matter of law. Id. at 916.

   In this case, there was no interactive process outlined in Bartee,. Accordingly, Defendant



                                                  9
cannot claim that Plaintiff was not a qualified person with a disability and it is also liable for

denial of reasonable accommodations.

   Even if Plaintiff could be required to address accommodations in the context of a position he

was never allowed to even attempt to perform, this Court must reject Defendant's argument that

accommodating Plaintiff was unreasonable and an undue hardship.

   Defendant makes its argument based upon the provisions of the ADA requiring only

reasonable accommodations and also, even where accommodations are reasonable, not

necessitating them if doing so would cause undue hardship to an employer. 42 U.S.C. §

12111(9), (10). Defendant, however, seemingly not aware of inconsistency of doing so, argues

both that the accommodations would have been unreasonable and an undue hardship. Defendant

bases its argument on the reasoning that “allowing employees to come in whenever they please”

would be unreasonable and an undue hardship.”

   Defendant, seemingly recognizing the possibility that it did have a duty to accommodate

Plaintiff, suggests, in the alternative, that any accommodation was such a hardship that it could

abandon accommodations previously provided without even discussions with Plaintiff. There are

multiple problem with Defendant's argument. First, Defendant was still subject to the ADA and

no less obligated to explore, and provide a reasonable, or any accommodations which would

enable the employee to perform in his position. Second, Defendant also still had an obligation to

discuss with Plaintiff possible accommodations. It was not enough for it to speculate, as it does,

that any accommodations or one that was never even requested by plaintiff was unreasonable or

an undue hardship.

Prima Facie Case of Failure to Accommodate - No Shifting Burden



                                                  10
   When only indirect or circumstantial evidence is available, a plaintiff alleging a violation of

the ADA must meet the burden-shifting framework of McDonnell Douglas v. Chevron Phillips,

570 F.3d at 615, citing McInnis v. Alamo Community College Dist., 207 F.3d 276, 279 (5th

Cir.2000). Thus the plaintiff must first make a prima facie showing of discrimination under the

ADA, i.e., that (1) he is disabled, has a record of having a disability, or is viewed as disabled; (2)

he is qualified for his job; (3) he was subjected to an adverse employment action on account of

his disability or the perception of his disability; and (4) he was replaced by, or treated less

favorably than, non-disabled employees. Id. Then, if the plaintiff succeeds, the burden shifts to

the employer to articulate a legitimate, non-discriminatory reason for its adverse employment

action. The plaintiff must then show either that the employer's reason is not true, i.e. pretextual,

or that the defendant's reason while true, is only one reason for its conduct and another

motivating factor is the plaintiff's protected characteristic, under the ADA his disability. Rachid

v. Jack in the Box, Inc., 376 F.3d 305, 312 (5th Cir.2004).

   Pursuant to the ADA, “discrimination” also includes an employer's “not making reasonable

accommodations to the known physical or mental limitation of an otherwise qualified ...

employee, unless the employer can demonstrate that the accommodation would impose an

“undue hardship” on the operation of the business. 42 U.S.C. § 12112(b)(5)(A). Accordingly, for

Plaintiff to establish a prima facie case of discrimination based on Defendant’s failure to provide

a reasonable accommodation, he must show: (1) that he is an individual who has a disability

within the meaning of the ADA; (2) that Defendant is covered by the ADA and had notice of his

disability; (3) that with reasonable accommodation he could perform the essential functions of

his position or another available position within the company; and (4) that Defendant refused to



                                                  11
make such accommodation. Davis v. City of Grapevine, 188 S.W.3d 748, 758 (citing Rhoads v.

F.D.I.C., 257 F.3d 373, 387 (4th Cir. 2001).

   If a plaintiff proves a prima facie case of a claim for failure to accommodate, the plaintiff

will have established a direct violation of the ADA and the McDonnell Douglas burden-shifting

test does not apply. Davis v. City of Grapevine, 188 S.W.3d at 758 (citing Bultemeyer v. Fort

Wayne Cmty. Schools, 100 F.3d 1281, 1283 - 84 (7th Cir. 1996)). The only defense then for

failure to provide a reasonable accommodation would be for the employer to demonstrate that

the accommodation would impose an undue burden on the operation of its business. 42 U.S.C. §

12112(b)(5)(A). In reaching the conclusion that the McDonnell Douglas burden-shifting test is

inappropriate in claims for failure to provide a reasonable accommodation, the Seventh Circuit

reasoned that if the plaintiff proved the elements alleged - that he was an otherwise qualified

person with a disability and that his employer failed to provide him a reasonable accommodation

- he would establish a direct violation of the ADA, and thus, there would be no need for any

indirect proof and burden-shifting. Davis v. City of Grapevine, 188 S.W.3d at 758 (citing

Bultemeyer v. Fort Wayne Cmty. Schools, 100 F.3d 1281, 1283 - 84 (7th Cir. 1996)).

   Accordingly, Plaintiff has brought forth sufficient summary judgment evidence to create a

genuine issue of material fact regarding such elements and having done so, Defendant is not

entitled to summary judgment on this claim. Furthermore, this Court should not apply the

McDonnell Douglas burden-shifting analysis to Plaintiff's claim for failure to provide a

reasonable accommodation because Plaintiff's summary judgment evidence shows a direct

violation of the ADA, and there should be no consideration of Defendant's articulated reason for

failing to provide a reasonable accommodation as required by the ADA.



                                                12
   Retaliation

   A claim of unlawful retaliation under the ADA, as under Title VII, requires a plaintiff to

make a prima facie case by showing that (1) he or she engaged in an activity protected by the

ADA, (2) he or she suffered an adverse employment action, and (3) there is a causal connection

between the protected act and the adverse action. Seaman v. CSPH, 179 F.3d 297, 301 (5th

Cir.1999). If the plaintiff succeeds, the employer must present a legitimate, nondiscriminatory

reason for the retaliatory adverse employment action. Id. at 301. If the employer succeeds, the

plaintiff must then show that the employer's proffered reason is a pretext for discrimination.

   With regard to retaliation claims, the Fifth Circuit has ruled that “[c]lose timing between an

employee's protected activity and an adverse action against him may provide the ‘causal

connection’ required to make out a prima facie case of retaliation.” Dooley v. Parks and

Recreation for Parish of East Baton Rouge, 433 Fed.Appx. 321, 324 (5th Cir.2011), citing

Swanson v. Gen. Servs. Admin., 110 F.3d 1180, 1188 (5th Cir.1997), citing Armstrong v. City of

Dallas, 997 F.2d 62, 67 (5th Cir.1993). Once the employer offers a legitimate, nondiscriminatory

reason that explains both the adverse action and the timing, the plaintiff must offer some

evidence from which the jury may infer that retaliation was the real motive. Roberson v. Alltel

Info. Servs., 373 F.3d 647, 656 (5th Cir.2004).

   For a retaliation claim under the ADA,, there is no requirement that the plaintiff suffer from

an actual disability; the plaintiff need only demonstrate that the plaintiff has a reasonable good

faith belief that the statute has been violated. Tabatchnik, 262 Fed.Appx. at 676 & n. 1 (failure to

prove a disability does not preclude the plaintiff from pursuing a retaliation claim). Where an

employee has a good faith belief that he is disabled or perceived as disabled, making a request



                                                  13
for a reasonable accommodation under the ADA may constitute engaging in a protected activity.

Id., citing 42 U.S.C. § 12112(b)(5)(A) (statute requires “making reasonable accommodations to

known physical or mental limitations of an otherwise qualified individual with a disability who

is ... an employee, unless such covered entity can demonstrate that the accommodation would

impose an undue hardship on the operation of the business of such covered entity.”).

   Here, it is undisputed that Plaintiff requested an accommodation for his disability which

protected activity and that he was fired three days later. The causal link required by the third

prong of the prima facie case does not rise to the level of a “but for” standard. Gee v. Principi,

289 F.3d 342, 345 (5th Cir. 2002). The Fifth Circuit, in Nowlin, supra, has recognized that

“[e]mployers rarely leave concrete evidence of their retaliatory purposes and motives.” Thus,

proof of retaliatory motive must necessarily be based largely upon an evaluation of the

circumstantial evidence of the case. 33 F.3d at 508.

   Plaintiff has shown a sufficient temporal link between his protected activities and his

termination, in that he has demonstrated that the termination of his employment occurred three

days after his employer received his request for an accommodation. Such connection is

sufficient to establish causation and to raise genuine issues of fact regarding the pretextual nature

of the actions. Both the United States Supreme Court and the Fifth Circuit have recognized that

a significant factor in evaluating whether a discharge or other adverse employment action is the

result of retaliatory motives is the temporal relationship between the employee's conduct and the

discharge. Clark County School District v. Breedon, 532 U.S. 268, 121 S.Ct. 2264 (2001),

Nowlin, 33 F.3d at 508; Ware v. CLECO Power, LLC, 90 Fed. Appx. 705 (5th Cir. 2004).

   Furthermore, Defendant’s proffered reasons for Plaintiff’s termination are for tardiness and



                                                 14
absences. However, a portion of these days that he was absent are because he had an injury at

work, for the death of his father, and regarding sleep problems or drowsiness caused by his

medicine and/or his mental impairments. (Exhibit B, Plaintiff’s Depo., pp. 40-42). The nurse

practitioner also testified that someone with sleeping problems and depression could be late for

work occasionally, and it would not be abnormal to be late. (Exhibit A, Smith’s Depo. pp. 39-

40). Had Defendant engaged in the proper interactive process after learning of his mental

conditions, it is likely that accommodations could have been made to Plaintiff’s schedule to

alleviate the exact reasons why Defendant states that he was terminated. Moreover, by the

calendar given to us by the Defendant in discovery (Exhibit C), it appears that all of the

employees working there at the time called in sick multiple times and left early for doctor’s

appointments, etc. This, along with the temporal aspect of termination three days after

requesting an accommodation, gives enough genuine issues of fact to show pretext.

   Therefore, there are genuine issues of material fact pertaining to whether or not Plaintiff’s

firing was discriminatory and summary judgment is not proper.



                                           CONCLUSION

              Accordingly, when viewing these issues in light most favorable to Blackard,

   genuine issues of material fact exist on the question of whether Defendant engaged in the

   proper interactive process after Plaintiff requested an accommodation and whether or not

   Plaintiff’s termination was motivated by illegal discrimination.




                                                15
                                                      Respectfully Submitted:


                                                      s/Gregory J. Miller
                                                      Gregory J. Miller No. 17059
                                                      MILLER& HAMPTON
                                                      3960 Government Street
                                                      Baton Rouge, LA 70806
                                                      Telephone:    (225) 343-2205
                                                      Facsimile:    (225) 343-2870
                                                      Attorney for Chad Blackard




                                 CERTIFICATE OF SERVICE

       I, Gregory J. Miller, hereby certify that a copy of the foregoing has this day been sent

electronic filing to counsel of record as follows:

               Colt Fore
               D. Blayne Honeycutt
               519 Florida Avenue, SW
               Denham Springs, LA 70726


       Baton Rouge, Louisiana, this 4th day of September.


                                       s/ Gregory J. Miller
                                       Gregory J. Miller




                                                 16
